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         10      Attorneys for Defendant LYFT, INC.

         11                                 UNITED STATES DISTRICT COURT

         12                 NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

         13      JOHN ROGERS, on behalf of himself and all       Case No. CaseNumber
                 others similarly situated,
         14                                                      NOTICE OF REMOVAL OF ACTION BY
                               Plaintiff,                        DEFENDANT LYFT, INC.
         15
                       v.                                        Removal from the Superior Court of San
         16                                                      Francisco County, Case No. CGC-20-583685,
                 LYFT, INC.,                                     Filed March 12, 2020
         17
                               Defendant.                        Removed Pursuant to the Class Action
         18                                                      Fairness Act of 2005, 28 U.S.C. § 1332(d)
         19
                                                                 DATE REMOVED: March 19, 2020
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             1           TO THE CLERK OF THE ABOVE-TITLED COURT AND TO PLAINTIFF JOHN

             2   ROGERS AND HIS COUNSEL OF RECORD:

             3           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1441, 1446, and 1453, and

             4   in accordance with 28 U.S.C. §§ 1332 and 1711, Defendant Lyft, Inc. (“Lyft”) hereby removes

             5   the above-captioned state court action, originally filed as Case No. CGC-20-583685 in the San

             6   Francisco County Superior Court, State of California, to the United States District Court for the

             7   Northern District of California. In so removing, Lyft reserves all defenses and rights. Removal is

             8   proper on the following grounds:

             9   I.      REMOVAL IS TIMELY
         10              1.     On March 12, 2020, Plaintiff John Rogers filed a complaint on behalf of a putative

         11      class against Lyft in San Francisco County Superior Court. Pursuant to 28 U.S.C. § 1446(a), true

         12      and correct copies of the Complaint, Superior Court Civil Case Cover Sheet, Superior Court

         13      Notice to Plaintiff, Preliminary Injunction Motion, and Superior Court Docket Sheet are attached

         14      as Exhibits A–G respectively.

         15              2.     Plaintiff has not yet served Lyft with the Complaint. This notice of removal is

         16      timely pursuant to 28 U.S.C. § 1446(b) because it is filed no later than 30 days after service. See

         17      Murphy Bros. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347 (1999); Novak v. Bank of New

         18      York Mellon Trust Co., NA., 783 F.3d 910, 911 (1st Cir. 2015) (“service is generally not a

         19      prerequisite for removal and . . . a defendant may remove a state-court action to federal court any

         20      time after the lawsuit is filed but before the statutorily-defined period for removal ends”).

         21      II.     SUMMARY OF PLAINTIFF’S COMPLAINT AND GROUNDS FOR REMOVAL
         22              3.     Removal is proper pursuant to 28 U.S.C. §§ 1441 and 1453 because this Court has

         23      subject matter jurisdiction over this action and all claims asserted against Lyft pursuant to the

         24      Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d).

         25              4.     CAFA applies “to any class action before or after the entry of a class certification

         26      order by the court with respect to that action.” 28 U.S.C. § 1332(d)(8). Here, Plaintiff alleges that

         27      he “brings this case as a class action pursuant to California Code of Civil Procedure § 382 on

         28      behalf of all Lyft drivers who work for Lyft in California.” Ex. A (“Compl.”) ¶ 12. On behalf of

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             1   this putative class, he asserts that “Lyft has misclassified its drivers . . . as independent

             2   contractors in violation of Cal. Labor Code § 2750.3.” Id. ¶ 2. This case is therefore a putative

             3   “class action” under CAFA because it was brought under a state statute or rule authorizing an

             4   action to be brought by one or more representative persons as a class action. See 28 U.S.C. §

             5   1332(d)(1)(B).

             6            5.      Under CAFA, federal courts have original jurisdiction over class actions where:

             7   (1) the amount in controversy exceeds $5 million in the aggregate for the entire class, exclusive of

             8   interest and costs; (2) the putative class action contains at least 100 members; and (3) any

             9   member of the putative class is a citizen of a state different from that of any defendant. See 28

         10      U.S.C. §§ 1332(d)(2), (d)(5)(B), and (d)(6).

         11               6.      Lyft denies any liability as to Plaintiff’s individual claims and as to the claims of

         12      the putative class members. Lyft expressly reserves all of its rights, including, but not limited to,

         13      its right to file motions to compel arbitration and motions challenging the pleadings. However, for

         14      purposes of meeting the jurisdictional requirements for removal only, Lyft submits on a good-

         15      faith basis that this action satisfies all requirements for federal jurisdiction under CAFA because,

         16      as set forth below, the allegations in the Complaint identify a putative class of more than 100

         17      members, establish the minimum diversity of citizenship required under CAFA, and put in

         18      controversy more than $5 million in the aggregate for the entire class, exclusive of interest and

         19      costs.

         20               A.      The Putative Class Contains More Than 100 Members
         21               7.      Plaintiff seeks to represent “all Lyft drivers who work for Lyft in California.”

         22      Compl. ¶ 12. Lyft disputes Plaintiff’s characterization of these individuals as “Lyft drivers who

         23      work for Lyft.” Drivers use the Lyft app but do not “work for Lyft.” But interpreting Plaintiff’s

         24      class definition as drivers who use the Lyft app in California, Lyft has a good faith basis to

         25      believe, and on that basis avers, that more than 100 persons use the Lyft app to find customers

         26      looking for rides and drive those customers within California. Indeed, the Lyft platform has been

         27      used by hundreds of thousands of drivers in California during the putative class period.

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             1          B.      The Amount in Controversy Exceed $5 Million

             2          8.      Plaintiff seeks “compensatory damages” based on Lyft’s alleged “fail[ure] to offer

             3   its drivers paid sick days as required by California law.” Compl. ¶ 33, Prayer for Relief. Plaintiff

             4   alleges that Lyft is required to “allow employees to accrue sick days at the rate of not less than

             5   one hour for every thirty hours worked after working for the employer for 30 days within a year

             6   from the start of their employment.” Compl. ¶ 30. Lyft denies any liability in this case and intends

             7   to vigorously oppose liability and class certification—and Lyft expressly reserves all of its rights

             8   to do so. See Dart Cherokee Operating Co., LLC v. Owens, 574 U.S. 81 (2014). However, for

             9   purposes of the jurisdictional requirements for removal only, Lyft has a good faith basis to

         10      believe, and on that basis avers, that the allegations in Plaintiff’s Complaint put well over $5

         11      million in controversy, exclusive of interest and costs. Lyft is one of the most widely-used

         12      rideshare platforms in California, and has been used by hundreds of thousands of drivers in

         13      California, who have driven millions of hours during the three-year limitations period for claims

         14      based on alleged statutory liability. See 28 U.S.C. § 1332(d)(6) (claims of individual class

         15      members set forth in the Complaint are “aggregated to determine whether the matter in

         16      controversy exceeds the sum or value of $5,000,000”); Cal. Code Civ. Proc. § 338 (three-year

         17      limitations period).

         18             9.      Plaintiff also alleges that putative class members are entitled to attorneys’ fees,

         19      which would add to this amount. Under Ninth Circuit precedent, the benchmark commonly used

         20      for the award of attorneys’ fees is 25% of the common fund. See Hanlon v. Chrysler Corp., 150

         21      F.3d 1011, 1029 (9th Cir. 1998); Jasso v. Money Mart Express, Inc., No. 11-CV-5500, 2012 WL

         22      699465, at *7 (N.D. Cal. Mar. 1, 2012). Lyft denies that any such attorneys’ fees are owed to

         23      Plaintiff or the putative class and reserve the right to contest the application of the 25%

         24      benchmark in this case. For purposes of this jurisdictional analysis only, Lyft relies on Plaintiff’s

         25      allegations that attorneys’ fees are owed. Applying the 25% benchmark to the allegations in the

         26      Complaint, Plaintiff’s request for attorneys’ fees is a further reason the amount in controversy

         27      meets the removal threshold.

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             1          10.     For the foregoing reasons, this action meets the jurisdictional minimum amount in

             2   controversy. See Ibarra v. Manheim Invs., Inc., 775 F.3d 1193, 1197 (9th Cir. 2015) (quoting

             3   Dart Cherokee, 135 S. Ct. at 554) (“‘[A] defendant’s notice of removal need include only a

             4   plausible allegation that the amount in controversy exceeds the jurisdictional threshold,’ and need

             5   not contain evidentiary submissions.”).

             6          C.      The Class Includes Numerous Non-California Citizens
             7          11.     The minimum diversity of citizenship criterion under CAFA is met if the plaintiff

             8   or “any member” of the putative class “is a citizen of a State different from any defendant.” 28

             9   U.S.C. § 1332(d)(2)(A).

         10             12.     Here, the putative class includes individuals who are citizens of other states.

         11      Plaintiff seeks to represent a class of “Lyft drivers who work for Lyft in California.” Compl. ¶ 12.

         12      Because Plaintiff’s proposed class “cover[s] all California [drivers], and not just [drivers] who

         13      were California citizens,” there are many non-California citizens in the proposed classes.

         14      Broadway Grill, Inc. v. Visa Inc., 856 F.3d 1274, 1279 (9th Cir. 2017) (class of “California

         15      individuals, businesses and other entities” was removable because it covered more than

         16      “California citizens”). Plaintiff’s proposed class of drivers who have used the Lyft Platform in

         17      California necessarily includes many individuals who are not citizens of this State, such as

         18      “college students from other states,” In re Sprint Nextel Corp., 593 F.3d 669, 673 (7th Cir. 2010);

         19      accord, e.g., Hargett v. RevClaims, LLC, 854 F.3d 962, 965 (8th Cir. 2017); those who stay only

         20      seasonally; on-demand workers whose permanent citizenship is outside of California; and drivers

         21      who live in, and are citizens of, Nevada and drive in California around the Lake Tahoe area.

         22      “Since many [California drivers] are not citizens of California,” Broadway Grill, 856 F.3d at

         23      1276, the minimum diversity requirement is met.

         24             D.      Plaintiff Will Not be able to Establish Any Exception to CAFA Jurisdiction
         25             13.     Because Lyft has met its “initial burden of establishing federal jurisdiction under §

         26      1332(d)(2),” the case is removable. Serrano v. 180 Connect, Inc., 478 F.3d 1018, 1024 (9th Cir.

         27      2007); see 28 U.S.C. § 1441(a) (“Except as otherwise expressly provided by Act of Congress, any

         28      civil action brought in a State court of which the district courts of the United States have original

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             1   jurisdiction, may be removed by the defendant or the defendants, to the district court of the

             2   United States for the district and division embracing the place where such action is pending.”). If

             3   Plaintiff eventually seeks remand, he will at that point have the burden of establishing any

             4   express statutory exception to CAFA jurisdiction. Serrano, 478 F.3d at 1024.

             5            14.    Plaintiff will not be able establish any such exception. See, e.g., Brinkley v.

             6   Monterey Fin. Servs., Inc., 873 F.3d 1118, 1121 (9th Cir. 2017) (plaintiff failed to show

             7   applicability of home-state exception where class definition was based on physical location in

             8   California and Washington); Hargett, 854 F.3d at 966 (“[M]erely alleging a proposed class of [in-

             9   state] residents” is not “sufficient to satisfy” the home-state exception); Sprint, 593 F.3d at 673-

         10      75 (plaintiff could not “establish by a preponderance of the evidence that two-thirds of their

         11      proposed class members are Kansas citizens” merely by defining the class as consisting of in-

         12      state residents).

         13               E.     Intradistrict Assignment
         14               15.    This action is properly removed to the San Francisco Division of this Court

         15      because Plaintiff originally filed his Complaint in the Superior Court for the County of San

         16      Francisco. See N.D. Cal. Civ. L.R. 3-2(c), 3-5(b).

         17      III.     THE COURT HAS JURISDICTION AND REMOVAL IS PROPER
         18               16.    Based on the foregoing facts and allegations, this Court has original jurisdiction

         19      over this action pursuant to 28 U.S.C. § 1332(d) because:

         20               (a)    this is a civil action which is a class action within the meaning of § 1332(d)(1)(B);

         21               (b)    Plaintiff’s putative class, under Plaintiff’s allegations, would encompass at least

         22                      100 persons as required by § 1332(d)(5)(B);

         23               (c)    the alleged amount in controversy exceeds $5 million, exclusive of interest and

         24                      costs as required by § 1332(d)(2); and

         25               (d)    a member of the proposed class is a citizen of a state different from any defendant

         26                      as required by § 1332(d)(2)(A).

         27               Accordingly, removal of this action is proper under 28 U.S.C. §§ 1441, 1446, and 1453.

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             1   Upon filing the Notice of Removal, Lyft will furnish written notice to Plaintiff’s counsel and will

             2   file and serve a copy of this Notice with the Clerk of the San Francisco County Superior Court,

             3   pursuant to 28 U.S.C. § 1446(d).

             4

             5   Dated: March 19, 2020                                  KEKER, VAN NEST & PETERS LLP
             6

             7                                                    By:   /s/ R. James Slaughter
                                                                        RACHAEL E. MENY
             8                                                          R. JAMES SLAUGHTER
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             9                                                          BROOK DOOLEY
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         10                                                             JASON GEORGE

         11                                                             Attorneys for Defendant LYFT, INC.

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